
USCA1 Opinion

	




                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 94-2287

                     NORTHEAST ERECTORS ASSOCIATION OF THE BTEA,

                                Plaintiff, Appellant,

                                          v.

           SECRETARY OF LABOR, OCCUPATIONAL SAFETY &amp; HEALTH ADMINISTRATION
                           AND ITS BOSTON REGIONAL OFFICE,

                                Defendants, Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________
                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                        and Schwarzer, Senior District Judge.*
                                       _____________________

                                 ____________________

            James F.  Grosso  with whom  O'Reilly &amp;  Grosso was  on brief  for
            ________________             __________________
        appellant.
            Mark  S. Flynn,  Senior  Appellate Attorney,  with whom  Thomas S.
            ______________                                           _________
        Williamson,  Jr.,  Solicitor  of Labor,  Allen  H.  Feldman, Associate
        ________________                         __________________
        Solicitor  for Special  Appellate and  Supreme  Court Litigation,  and
        Nathaniel  I. Spiller, Counsel for Appellate Litigation, United States
        _____________________
        Department of Labor, were on brief for appellees.

                                 ____________________
                                   August 15, 1995
                                 ____________________




                            
        ____________________

        *Of the Northern District of California, sitting by designation.















                      CAMPBELL, Senior Circuit Judge.  Northeast Erectors
                                ____________________

            Assoc.  ("NEA") sued the Secretary of Labor, the Occupational

            Safety and Health Administration ("OSHA"), and  OSHA's Boston

            regional  office, for declaratory and injunctive relief.  NEA

            sought to enforce an asserted oral agreement with  the Boston

            regional office  of OSHA,  under which  the office  allegedly

            agreed not to enforce certain OSHA regulations.  The district

            court  dismissed for  failure  to  state a  claim.   NEA  now

            appeals.  We affirm, although on a different ground.

                                          I.

                      NEA is an unincorporated association of contractors

            who  perform structural steel and pre-cast concrete erection.

            The   OSHA  regulations  at  issue  in  this  case  establish

            standards  designed to  protect  against  falls of  employees

            working in  the construction  industry and,  particularly, of

            persons working in the steel  erection industry.  29 C.F.R.  

            1926.750(b)(1)(ii) is  a regulation specifically  targeted at

            the  steel  erection industry.   It  requires safety  nets or

            safety lines to be installed  when employees are exposed to a

            potential fall exceeding two stories  or 25 feet.  Similarly,

            29  C.F.R.   1926.105(a),  which applies to  the construction

            industry  in  general,  requires safety  nets  or  equivalent

            protection for workplaces 25 feet or more above the ground.

                      We  accept  NEA's  allegations  as  true   for  the

            purposes of  this appeal,  Watterson v. Page,  987 F.2d  1, 3
                                       _________    ____



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            (1st  Cir. 1993).   In October of  1989, a group  of erection

            contractors and labor representatives met with John Miles, an

            OSHA regional administrator, and  other OSHA representatives,

            to discuss  OSHA's fall  protection standards.   During  this

            meeting,  the contractors told Miles that, for steel erection

            workers   known   as   "connectors,"   compliance  with   the

            regulations was  actually more hazardous  than noncompliance.

            See Donovan v.  Daniel Marr &amp; Son Co., 763 F.2d 477, 479 (1st
            ___ _______     _____________________

            Cir.   1985)  (describing  the  type  of  work  performed  by

            connectors).   OSHA  representatives allegedly  accepted this

            view and  agreed that,  until OSHA  published a  revised fall

            protection  standard, they would  not cite employers  for not

            complying  with the regulations  with respect to  workers who

            were "connectors."

                      From  1989 through  April  of  1994, regional  OSHA

            representatives,   allegedly    in   compliance    with   the

            "agreement,"  did not cite  local steel  erection contractors

            for  noncompliance with  the  fall protection  standards  for

            "connectors."   NEA argues that the agreement was breached in

            1994  when the  Deputy  Assistant Secretary  of  OSHA sent  a

            memorandum to all of the regional offices, directing them  to

            cite employers who violated the  fall provisions in 29 C.F.R.

              1926.105(a).   The Boston regional office  informed various

            contractors that it  would now begin to issue such citations.

            NEA then brought  this suit in the district  court, seeking a



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            declaration as to  its rights and obligations under  the oral

            agreement  with  the  Boston regional  office.    NEA further

            sought an injunction restraining OSHA from  issuing citations

            for  violations of the  fall protection standards  until such

            time as OSHA issues new standards.

                      Defendants moved  to dismiss  for lack of  subject-

            matter jurisdiction, Fed. R. Civ. P. 12(b)(1), and failure to

            state a  claim, Fed. R.  Civ. P.  12(b)(6).  Ruling  from the

            bench,  the  district  court  dismissed NEA's  complaint  for

            failure to state a claim under Fed. R. Civ. P. 12(b)(6).  The

            court held that, as a matter of law, the government could not

            be estopped from enforcing its regulations.  It expressly did

            not rule  on the issue  of subject-matter jurisdiction.   NEA

            now appeals.

                                         II.

                      When  faced  with  motions  to dismiss  under  both

            12(b)(1) and 12(b)(6),  a district court, absent  good reason

            to do otherwise, should ordinarily decide the 12(b)(1) motion

            first.    See 5A  Charles  Wright  &amp;  Arthur Miller,  Federal
                      ___                                         _______

            Practice and Procedure    1350, at 210 (1990);  Bell v. Hood,
            ______________________                          ____    ____

            327  U.S. 678,  682 (1945) ("Whether  the complaint  states a

            cause  of  action on  which  relief  could  be granted  is  a

            question of law and just as issues of fact it must be decided

            after and not  before the court has assumed jurisdiction over





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            the  controversy.").1  It is not simply formalistic to decide

            the jurisdictional issue when the  case would be dismissed in

            any  event   for  failure  to  state  a   claim.    Different

            consequences   flow  from   dismissals  under   12(b)(1)  and

            12(b)(6):  for example, dismissal under the former, not being

            on the merits, is without res judicata effect.   See 2A James
                                                             ___

            Moore, et al.,  Moore's Federal Practice   12.07,  at 12-49 &amp;
                            ________________________

            n.3 (1993).  

                      We accordingly start    as  well as end    with the

            jurisdictional issue,  holding  that the  district court  was

            without subject-matter  jurisdiction over NEA's  claim.   The

            Occupational  Safety  and  Health  Act  ("OSH  Act")  has  an

            extensive   administrative  process   for   review  of   OSHA

            enforcement  actions.   After  OSHA  issues  a  citation,  an

            employer   may   seek   administrative   review  before   the

            Occupational Safety  and Health Review  Commission ("OSHRC").

            29 U.S.C.    659(c).  Such challenges are  first heard before


                                
            ____________________

            1.     A different  priority is followed  in cases  where the
            12(b)(1) motion is  based on the plaintiff's  alleged failure
            to  state a  federal claim.   (The  idea being  that, if  the
            plaintiff failed to state a  federal claim, there could be no
            federal   question    jurisdiction.)    In  such  cases,  the
            prevailing  view  is  that,  unless  the  claim  is  entirely
            frivolous, a court should assume jurisdiction and dismiss for
            failure to state a claim, since federal question jurisdiction
            exists  once plaintiff has  alleged even a  colorable federal
            claim.    See  Bell,  327  U.S.  at  682-83.   This  case  is
                      ___  ____
            distinguishable,    however,    insofar     as    defendants'
            jurisdictional argument is  not based on the  federal claim's
            lack of substantive merit, but upon an independent basis.


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            an OSHRC administrative law  judge, with discretionary review

            by OSHRC.   29 U.S.C.   661(j).   The employer may  then seek

            judicial review  of the OSHRC  decision in the U.S.  Court of

            Appeals,  whose   jurisdiction  is  "exclusive   and  [whose]

            judgment and decree shall be final," except for review by the

            Supreme Court.  29 U.S.C.   660(a).  

                      The OSH  Act expressly  authorizes the  bringing of

            original actions  in the  U.S. District Court  in only  a few

            situations.    None of  these  includes the  bringing  in the

            district  court of pre-enforcement actions by employers.  See
                                                                      ___

            29  U.S.C.    657(b)  (actions by  the  Secretary to  enforce

            administrative  subpoenas);  id.      660(c)(2)  (actions  by
                                         ___

            Secretary to enforce the antidiscrimination provisions of the

            OSH Act); id.    662(a), (d) (actions on  behalf of Secretary
                      ___

            to  restrain imminent dangers); and  id.   666(l) (actions on
                                                 ___

            behalf  of  the  U.S.  to  recover  civil  penalties).    The

            administrative  review scheme is  thus ordinarily regarded as

            the  exclusive procedure through which an employer can obtain

            review  of OSHA  enforcement proceedings.    See 29  U.S.C.  
                                                         ___

            660(a); Brock v.  Morysville Body Works, Inc.,  829 F.2d 383,
                    _____     ___________________________

            385 (3d Cir. 1987).

                      In Thunder Basin Coal Co.  v. Reich, 114 S. Ct. 771
                         ______________________     _____

            (1994),  the  Supreme  Court held  that  a  nearly identical,

            comprehensive  administrative  review   procedure  under  the

            Federal  Mine Safety and  Health Amendments Act,  30 U.S.C.  



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            801 et seq., ("Mine Act"), revealed a congressional intent to
                __ ____

            preclude  district  courts   from  exercising  subject-matter

            jurisdiction   over   pre-enforcement,  as   well   as  post-
                                  _______________

            enforcement, challenges to the Act.  In Thunder Basin, a mine
                                                    _____________

            operator, asked  to comply with  the provisions  of the  Mine

            Act,  sought immediate injunctive relief from that request in

            district  court, instead of  waiting for a  citation from the

            Mine  Safety  and  Health Administration  ("MSHA")  and  then

            challenging  the  citation through  the Act's  review scheme.

            The   Court  held  that   the  district  court   was  without

            jurisdiction to grant the requested relief.

                      Although the  Mine Act  did  not expressly  mention

            pre-enforcement challenges, the Court pointed to the detailed

            administrative review  procedures  established  by  the  Act.

            After MSHA  issues  a  citation, a  mine  operator  may  seek

            administrative  review  before the  Federal  Mine  Safety and

            Health Review Commission  ("FMSHRC").  Thunder Basin,  114 S.
                                                   _____________

            Ct.  at 775;  30 U.S.C.    815(a), (d).   Such challenges are

            heard  before  a   FMSHRC  administrative  law   judge,  with

            discretionary review by FMSHRC.   30 U.S.C.   823(d)(1), (2).

            The  mine operator  may  then  seek  judicial review  of  the

            decision in  the U.S.  Court of  Appeals, whose  jurisdiction

            "'shall be  exclusive and  . . .  final' except  for possible

            Supreme  Court review."   Thunder  Basin, 114  S. Ct.  at 777
                                      ______________

            (citing 30 U.S.C.   816(a)(1)).   The Act authorizes  actions



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            in the U.S. District Court only in a limited number of  areas

            and  only by  the  Secretary,  not by  mine  operators.   Id.
                                                                      ___

            (operators  "enjoy no corresponding right but are to complain

            to the Commission and then to the Court of Appeals").

                      Pointing  to the  comprehensive review  procedures,

            the Court held  that a district  court had no  subject-matter

            jurisdiction to entertain a  pre-enforcement challenge to the

            Act by a mine operator.  The Mine Act's "comprehensive review

            process  does  not   distinguish  between   pre-  and   post-

            enforcement  challenges, but applies to all violations of the

            Act and its regulations."  Id.  The Court also pointed to the
                                       ___

            legislative  history  of   the  Act,  which   indicated  that

            administrative  review  procedures  were designed  to  be the

            exclusive  mechanism through  which  mine  operators were  to

            obtain  review of enforcement  actions.  The  Court concluded

            that:

                      Nothing in the language and structure  of
                      the  Act   or  its   legislative  history
                      suggests that Congress  intended to allow
                      [employers] to evade the statutory-review
                      process by  enjoining the  Secretary from
                      commencing  enforcement  proceedings,  as
                      petitioner sought  to do here.  To uphold
                      the  District  Court's   jurisdiction  in
                      these circumstances would  be inimical to
                      the   structure   and  purpose   of   the
                      . . . Act.

            Id. at 781.
            ___

                      This case  falls  squarely within  the  holding  of

            Thunder Basin.    We hold  that the  OSH Act's  comprehensive
            _____________



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            administrative  review scheme  precluded  the district  court

            from exercising subject- matter jurisdiction over the present

            estoppel-based pre-enforcement challenge.  The administrative

            and judicial  review procedures  in the  two acts  are nearly

            identical.   Compare  29 U.S.C.     660(a) with  30 U.S.C.   
                         _______                       ____

            816(a)(1).  Moreover,  like the claim  in Thunder Basin,  the
                                                      _____________

            NEA's estoppel claim is "of  the type Congress intended to be

            reviewed within  this statutory  structure."   Thunder Basin,
                                                           _____________

            114 S. Ct. at 779.  If, indeed, the government has engaged in

            conduct  which   should   prevent  it   from  enforcing   its

            regulation, there is no reason  for the employer not to raise

            that  issue as  a defense  during a  challenge to  a citation

            under the ordinary  administrative review procedure.   Such a

            defense would not be so  "wholly collateral" to the OSH Act's

            review provisions, nor  so outside OSHA's expertise,  that it

            should be exempted from the OSH Act's review scheme.  See id.
                                                                  ___ ___

            at 779.2

                      OSHA's  decision  would, moreover,  be  entitled to

            judicial review by a court of  appeals.  See, e.g., Erie Coke
                                                     ___  ____  _________

            Corp., 1992 OSH Dec. (CCH)   29,653 (O.S.H.R.C.) (no estoppel
            _____

            where no evidence that reliance on earlier OSHA position  was


                                
            ____________________

            2.   Tierney v.  Schweiker, 718  F.2d 449  (D.C. Cir.  1983),
                 _______     _________
            upon  which   the   NEA   places   principal   reliance,   is
            distinguishable  as  that  case  involved  no  comprehensive,
            statutory-review  scheme governing  review of  administrative
            action.      Accordingly,   there   could   be  inferred   no
            congressional intent to foreclose other avenues of review.

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            reasonable   or  that   Secretary   engaged  in   affirmative

            misconduct), aff'd sub nom., Reich v. OSHRC, 998 F.2d 134 (3d
                         ______________  _____    _____

            Cir. 1993).  Nor  do we think that the NEA  or its membership

            suffers any substantial harm by  being required to raise this

            issue in  the first  instance after one  or more  members are

            subject to a citation.  See Thunder Basin, 114 S. Ct. at 781-
                                    ___ _____________

            82.   Allowing  such  claims  to be  raised  initially in  an

            injunctive  proceeding   in  district  court   would  subvert

            Congress's  intent to have  such claims reviewed  through the

            OSH Act's detailed administrative procedure.

                                         III.

                      Because  the district  court lacked  subject-matter

            jurisdiction over this  case, we affirm the  district court's

            dismissal on  that ground  and do not  reach its  decision on

            defendants' motion to dismiss for failure to state a claim.

                      Affirmed.
                      ________

             



















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